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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LABORERS’ PENSION FUND, LABORERS’                     )
WELFARE FUND OF THE HEALTH AND                        )
WELFARE DEPARTMENT OF THE                             )
CONSTRUCTION AND GENERAL                              )
LABORERS’ DISTRICT COUNCIL OF                         )
CHICAGO AND VICINITY, THE CHICAGO                     )
LABORERS’ DISTRICT COUNCIL RETIREE                    )
HEALTH AND WELFARE FUND and                           )      JUDGE LEFKOW
CATHERINE WENSKUS, not individually, but              )
as Administrator of the Funds,                        )
                                                      )
                              Plaintiffs,             )       Case No.: 19-cv-6920
       v.                                             )
                                                      )
BOYE JANITORIAL SERVICES, INC. an                     )
Illinois corporation,                                 )
                                                      )
                              Defendant.              )


                 MOTION TO REINSTATE AND CONFESS JUDGMENT

       NOW COME Plaintiffs Laborers’ Pension Fund and Laborers’ Welfare Fund of the

Health and Welfare Department of the Construction and General Laborers’ District Council of

Chicago and Vicinity and Catherine Wenskus, Administrator of the Funds (hereinafter

collectively “Funds”), by and through their attorney, G. Ryan Liska, and hereby move this Court

to Reinstate and Confess Judgment on the settlement Installment Note entered into by the parties

in the above referenced matter. In support of this Motion, Plaintiffs state as follows:

       1.      On October 21, 2019 the Funds filed a Complaint against Boye Janitorial Service,

Inc. ("Defendant”) to collect amounts found due and owing pursuant to a fringe benefit and

union dues compliance audit covering the period April 2017 through March 31, 2019 and to

collect unpaid fringe benefit reports for March 2019 and July 2019 through October 2019. In
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addition, the lawsuit sought payment for accumulated liquidated damages which were assessed

against the Defendant as a result of it failing to timely pay its fringe benefit monthly reports.

       2.      On March 13, 2020, the Funds and Defendant resolved this matter when the

parties entered into an Installment Note wherein the Defendant agreed to pay $215,187.38 over

the course of thirty-six (36) consecutive months. A true and accurate copy of the Installment

Note is attached as Exhibit 1.

       3.      As a result of the Parties’ settlement, the Parties entered into an Agreed

Stipulation to Dismiss wherein the Court dismissed the matter without prejudice and granted the

Funds leave to reinstate the lawsuit on or before April 15, 2023. (See Docket Entry 18).

       4.      Paragraph 9 of the Installment Note provides "in the event the Company fails to

timely make any payments described in this Note, all amounts described in paragraph 1 [of the

Note] herein shall immediately become due on the 10th day following the date on which

payment should have been received by the Funds under the terms of this Note. In such event the

Company further agrees to pay all attorneys’ fees and costs incurred by the Funds in any action

to enforce any part of this Note”.

       5.      Paragraph 10 of the Installment Note provides the Funds with the right to

accelerate the balance due on the Installment Note in the event the Company fails to remain

current on its monthly fringe reporting and payments as set forth in the parties’ collective

bargaining agreement.

       6.      Paragraph 8 of the parties’ Settlement Agreement provides that in the event of

default, the Funds shall provide the Defendant with a written notice of default and that the Funds

could accelerate the balance due on the installment note in the event the Defendant did not cure


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the default within ten (10) days. (A true and accurate copy of the Settlement Agreement is

attached as Exhibit 2.

        7.        On June 8, 2021, the Funds provided a written notice of default to the Defendant

via email which advised Defendant it was in default of the note payment obligations and

demanded Defendant to pay the March 2021 through June 2021 note payments by June 23, 2021.

On June 23, 2021, the Funds granted Defendant an extension to make these payments by July 2,

2021.   (A true and accurate copy of those emails are attached as Exhibits 3 and 4). On July 9,

2021, the Funds sent a follow up email requesting the Defendant cure the Installment Note

default. (See Exhibit 5). To date, the Defendant has not cured the default despite numerous

promises to do so.

        8.        Since the default emails were delivered, the August 2021 through October 2021

note payments became due. In addition, the Defendant failed to remit its June 2021 through

August 2021 fringe benefit reports and payments. (See Exhibit 6 Christopher Affidavit, ¶ 3).

        9.        Defendant is in default of its Installment Note obligations by failing to timely

remit its April 2021 through October 2021 payments totaling $32,992.61 and by failing to remit

its June 2021 through August 2021 monthly fringe benefit reports. (See Exhibit 6 Christopher

Affidavit, ¶ 5)

        10.       By virtue of failing to timely make the April 2021 through October 2021 note

payments and failing to cure the default within ten (10) days, the balance due on the Installment

Note is immediately due and payable. Allowing for all just due credits, Defendant owes

$117,948.61. (See Exhibit 6 Christopher Affidavit, ¶ 5).




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       WHEREFORE, the Funds respectfully request that this Court grant its Motion to

Reinstate and Confess Judgment and:

       A. Enter judgment jointly and severely in favor of the Funds and against Defendant Boye

Janitorial Service, Inc. in the amount of $ $117,948.61 plus $500.00 which represents Funds’

attorney fees and expenses in enforcing Note and moving to reinstate this case;

       B. Order Defendant to pay post judgment interest on the judgment amount until fully paid

to the Funds; and

       C. For any other relief deemed just inequitable.




                                                    Respectfully submitted,

October 18, 2021                                    Laborers’ Pension Fund, et al.

                                                    By: /s/ G. Ryan Liska


Office of Fund Counsel
Laborers' Pension and Welfare Funds
111 W. Jackson Blvd., Suite 1415
Chicago, IL 60604
(312) 692-1540




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                                CERTIFICATE OF SERVICE


       The undersigned certifies that he caused a copy of the foregoing Motion to Reinstate and

Confess Judgment to be served upon the following persons via the U.S. Mail on this 18th day of

October, 2021.

       Boye Janitorial Services, Inc.
       c/o Tony Adeboyejo
       PO Box 490777
       Chicago, Il 60649

       Boye Janitorial Services, Inc.
       c/o Aileen Carbonel, VP Operations
       aileen@boyejan.com



                                                          /s/ G. Ryan Liska




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